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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    STATE OF TEXAS,

         Plaintiff,

    v.                                                No. 4:21-cv-0579-P

    JOSEPH R. BIDEN, JR., IN HIS OFFICIAL
    CAPACITY AS PRESIDENT OF THE UNITED
    STATES OF AMERICA, ET AL.,

         Defendants.

                                    ORDER
         Texas initiated the above-captioned case almost a year ago. See ECF
    No. 1. Now before the Court is the Parties’ Joint Status Report and
    Motion for Scheduling Order (“Motion”). ECF No. 106. By the Motion,
    Texas seeks to file an amended complaint, which would drastically alter
    the nature and scope of the instant dispute. Because of this potentially
    drastic change, the Court held a hearing. See ECF Nos. 108, 109.

      At the hearing, the Court voiced its concerns with allowing an
    amended complaint at this stage in the litigation and heard argument
    from the Parties. Having further considered the Parties’ arguments, and
    for the reasons the Court stated on the record at the hearing, the Court
    DENIES the Motion.

         SO ORDERED on this 14th day of April, 2022.




                      Mark T. Pittman
                      UNITED STATES DISTRICT JUDGE
